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                        UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT

HENRY W. FARNAM                    :Case Number: 3:13-cv-01693-WWE
                                   :
     Plaintiff,                    :
                                   :
VS.                                :
                                   :
THE MADISON BEACH CLUB, INC.;      :
JEROME H. CARGILL PRODUCING        :
 ORGANIZATION, INC. OF NEW YORK, NY;
DONALD GRANT ZELLMER               :
                                   :
     Defendants                    :DRAFT

                           STIPULATION OF DISMISSAL

        It is hereby stipulated by the plaintiff, Henry W. Farnam, through undersigned

counsel, and the defendants, Jerome H. Cargill Producing Organization, Inc. of

New York, NY and The Madison Beach Club, Inc., through undersigned counsel,

that the above-entitled action be dismissed with prejudice and without costs, from

the United States District Court, District of Connecticut, 915 Lafayette Boulevard,

Bridgeport, Connecticut.

THE PLAINTIFF,
HENRY W. FARNAM

By       /s/ James A. Hall, IV
     James A. Hall
     Federal Bar No: ct 21486
     Hall Johnson, LLC
     P.O. Box 1774
     Pawcatuck, Connecticut 06379
     Tel: 860-599-4400
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     halljohnsonllc@yahoo.com
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THE DEFENDANT                              THE DEFENDANT,
JEROME H. CARGILL PRODUCING                THE MADISON BEACH CLUB, INC.
ORGANIZATION, INC. OF NEW YORK,
NY
                                           By___/s/ ct 17513
By      /s/ Nadine M. Pare                   Gary C. Kaisen
     Nadine M. Pare                          Federal Bar No: ct 17513
     Federal Bar No: ct 27079                Milano & Wanat, LLC
     NUZZO & ROBERTS, L.L.C.                 471 East Main Street
     One Town Center                         Branford, Connecticut 06405
     P.O. Box 747                            Tel: 203-315-7000
     Cheshire, Connecticut 06410             Fax: 203-315-7007
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     npare@nuzzo-roberts.com




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                                              CERTIFICATION

         This is to certify that on February 13, 2017, a copy of the foregoing

Stipulation of Dismissal was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF System.



                                                             /s/ James A. Hall, IV
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